                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )                    Case No. 3:21-CR-91
                                               )
 JESSIE DAVID GOUGH                            )


        MOTION TO CONTINUE TRIAL AND ALL ASSOCIATED DEADLINES

        The Defendant, Jessie Gough, by and through undersigned counsel, respectfully moves this

 Honorable Court to enter an Order continuing the trial and all associated deadlines listed in the

 Amended Order on Discovery and Scheduling [Doc. 12] in this matter.

        In support, the following is stated:

        1.     Mr. Gough is charged in a one-count indictment with unlawful possession of a

 firearm and ammunition in violation of 18 U.S.C. 922(g).

        2.     On September 20, 2021, the Honorable Magistrate Judge Guyton entered an Order

 on Discovery and Scheduling, [Doc. 8]. On October 5, 2021, Magistrate Judge Guyton entered an

 Amended Order on Discovery and Scheduling [Doc. 9] that set this matter for trial on November

 30, 2021.

        3.     The Government provided Mr. Gough with discovery on September 24, 2021.

        4.     A pre-trial motions deadline is currently set on October 18, 2021.

        5.     Counsel for Mr. Gough has reviewed discovery and begun defense investigation,

 but additional time is needed to develop Mr. Gough’s defense. The basis of the charge against Mr.

 Gough is that a firearm and ammunition were allegedly found in his home when his child’s mother

 – with whom Mr. Gough was involved in a custody dispute – called law enforcement to report that

 a firearm was in the home. Information about Mr. Gough’s living situation at the time and his

                                                   1

Case 3:21-cr-00091-KAC-DCP Document 13 Filed 10/15/21 Page 1 of 3 PageID #: 30
 relationship with his child’s mother are highly relevant to Mr. Gough’s defense. Additional

 investigation into those, and other, subjects is necessary so that defense counsel may effectively

 represent Mr. Gough and prepare to rebut the Government’s case at trial. A continuance is also

 needed so that counsel may determine the pre-trial motions to be filed after further investigation

 and discovery review.

        6.      18 U.S.C. § 3161(h)(7)(A) permits this Court to delay trial when the Court makes

 “findings that the ends of justice served by taking such action outweigh the best interest of the

 public and the defendant in a speedy trial.” These findings may be made “in a case which, taken

 as a whole, is not so unusual or so complex as to fall within [18 U.S.C. § 3161(h)(7)(B)(ii)]” but

 when the failure to grant a continuance “would deny counsel for the defendant or the attorney for

 the Government the reasonable time necessary for effective preparation, taking into account the

 exercise of due diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv).

        7.      Mr. Gough submits that counsel has diligently attempted to prepare this case, but

 that under the time limits established by the Speedy Trial Act and set forth in the Court’s Amended

 Order on Discovery and Scheduling [Doc. 12], counsel has not had sufficient time to do so.

        8.      Undersigned counsel has spoken with counsel for the Government and the

 Government has no objection to this motion.



                                               Respectfully submitted,

                                                s/Tyler M. Caviness
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                                                  2

Case 3:21-cr-00091-KAC-DCP Document 13 Filed 10/15/21 Page 2 of 3 PageID #: 31
                                  CERTIFICATE OF SERVICE

        I, Tyler M. Caviness, hereby certify that a copy of the foregoing was filed electronically

 on October 10, 2021. Notice of this filing will be sent by operation of the Court’s electronic filing

 system to all parties indicated on the electronic filing receipt. Parties may access this document

 through the Court’s electronic filing system.


                                                 s/Tyler M. Caviness_____________________
                                                 TYLER M. CAVINESS




                                                   3

Case 3:21-cr-00091-KAC-DCP Document 13 Filed 10/15/21 Page 3 of 3 PageID #: 32
